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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 22-mj-2719-JG

 UNITED STATES OF AMERICA,

 vs.

 ANDREW ALTURO FAHIE and
 OLEANVINE PICKERING MAYNARD,

       Defendants.
 ____________________________________/

       UNITED STATES OF AMERICA’S MOTION FOR PRE-TRIAL DETENTION

        During the spring of 2022, the Defendants conspired to import approximately 27,000

 kilograms of cocaine into the United States, and to launder millions of dollars in drug proceeds

 from the United States to the British Virgin Islands (“BVI”). Throughout that time, Defendant

 Andrew Fahie was the Premier of the BVI, and Defendant Oleanvine Maynard was the Director

 of the BVI Ports Authority. Both Defendants accepted thousands of dollars in bribes to allow for

 the safe passage of cocaine through the BVI, and planned to receive millions more as part of their

 ongoing conspiracy.

        In light of the Defendants’ extensive criminal conduct, the danger they pose to the

 community, and their serious risk of flight, the United States hereby moves for the pre-trial

 detention of both Defendants under 18 U.S.C. § 3142(f)(1)(B)-(C). Due to the serious nature of

 the offenses committed by the Defendants, their detention is statutorily presumed under 18 U.S.C.

 § 3142(e)(3)(A).




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 I.       Factual Background and Procedural History 1

          Beginning in October 2021, a DEA confidential source (“CS”) conducted several meetings

 with a group of self-proclaimed Lebanese Hezbollah operatives (the “Lebanese Group”) who

 stated that they had business ties to South Florida and the Middle East. Those meetings occurred

 on the Island of Tortola in the BVI. The CS explained that he wanted to transport cocaine from

 Colombia, through Tortola, and into the United States. Members of that group agreed to assist the

 CS by facilitating introductions to senior members of the BVI government who could offer

 protection for the CS’s activities, but would require payment for their assistance. This included

 Defendants Fahie and Maynard.

          Between the months of March and April 2022, the CS met and communicated with Fahie,

 Oleanvine Maynard, and Kadeem Maynard on multiple occasions. During those meetings and

 calls, the CS informed the Defendants that he was a member of the Sinaloa Cartel, and he wished

 to transport thousands of kilograms of cocaine from Colombia, through Tortola, to Puerto Rico,

 with a destination of Miami and then New York. The Defendants agreed to help import cocaine

 into Puerto Rico and then Miami by: (1) providing businesses that the CS could use as cover for

 his operation; (2) providing the CS with the licenses needed to assure safe passage for his cocaine

 through the BVI; (3) accepting bribes to assure that the CS’s shipments would not be stopped by

 law enforcement in the BVI ($10,000 to Maynard, and $20,000 to Fahie); (4) agreeing to accept

 future bribes to ensure the continued success of their drug trafficking venture; (5) arranging bribes

 to another BVI government official (“Government Official 1”), so that he/she would not interfere




 1
   The facts set forth in this section are based on the complaint affidavit (DE 1), and additional facts gathered during
 the course of the investigation. The facts previously detailed in the complaint are not re-written here in detail, but are
 instead incorporated by reference. This section merely summarizes the offense conduct set out in the complaint, and
 adds additional factual details relevant to detention.

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 with their drug trafficking activity; (6) securing access for the CS through the BVI’s ports and

 airports; (7) arranging to receive payments from the CS, through bank accounts, businesses, or

 cash deliveries via plane and boat; and (8) arranging for fake seizures of “bad” cocaine by the

 government of the BVI, to ensure that their real cocaine shipments would not attract attention.

        The Defendants ultimately agreed that the first shipment of cocaine, 3,000 kilograms,

 would come through the BVI during early July 2022. Then, they would coordinate two shipments

 of 3,000 kilograms of cocaine every month, for a period of four months. As an initial payment for

 their role in the conspiracy, Fahie and Maynard planned to accept $700,000 in cash during a trip

 to Miami on April 28, 2022. That payment included $500,000 for Fahie, and $200,000 for

 Maynard. They would later be paid approximately 10% of the drug sales in Miami for each

 shipment, or roughly $7.8 million per load. In addition, they would receive 2% in order to pay for

 expenses on the island, including additional bribes. The Defendants agreed to this payment

 structure.

        As noted in the Complaint, during the April 7, 2022 meeting, Fahie asked the CS if he

 could help Fahie pay $83,000 in cash to someone in Senegal. Fahie explained that this was

 someone he trusted, who he had known for 20 years, and who was “like a brother” to Fahie. The

 CS agreed to join Fahie and that man in St. Martin around May 3, 2022, so that the CS could

 provide that cash on Fahie’s behalf. During their discussion about the man from Senegal, the CS

 asked if he could get them guns. Fahie responded, “I would have to ask him.”

        The CS met with Defendant Fahie again on the evening of April 27, 2022. A DEA

 undercover officer (“UC”) was also present at that meeting, and the meeting was audio recorded.

 During the meeting, Fahie again discussed the man from Senegal to whom he owed money (in

 cash). Fahie explained that that person “did a few things for me, politically,” and that he “knows


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 a lot about elections, so he’ll come around elections.” Later in their conversation, the CS and

 Fahie discussed what companies they would use to get money back to the BVI. Fahie explained

 that he had a woman who would arrange the companies for them, and that she did “a lot of things

 for me in politics, that’s not above board, but she knows a lot, but she doesn’t look it.” The parties

 also discussed Government Official 1, and whether Government Official 1 would pose a problem

 for their plan. Fahie said “I’m going to fix [him/her].” The CS responded “you will pay

 [her/him]?” Fahie confirmed, “yea, I will fix [him/her].”

        Later during that same meeting, the parties discussed how Fahie would handle the cash that

 would be brought to the BVI as payment for his role in the conspiracy. The UC showed Fahie a

 picture of the cash that was packaged to travel back to the BVI on a private jet the following day.

 The parties also discussed how the money could be sent back to the BVI on an ongoing basis, as

 their plan progressed. Fahie mentioned using a line of credit to disguise their transactions, or using

 construction activity that he was involved in, which included the purchase and/or sale of windows,

 doors, tiles, etc. The CS and Fahie then discussed doing cash deliveries via boat to the BVI. Fahie

 explained: “I’m gonna get everything rolling, so we can get that money . . . the first payment by

 boat . . . once you bring that down I’ll tell you exactly where, I have a guy, reliable, like my brother,

 but he does a lot of business on the ‘other side.’” The CS asked, “what is the business on the other

 side?” Fahie responded, “well, he does, he ships, he moves anything that he’s moving now,

 whether it’s cocaine, or whether it’s guns, he does everything . . . he’s reliable.” Fahie then

 provided that person’s nickname, and he/she is a well-known drug trafficker in the BVI who has

 prior convictions for firearms possession and possessing with intent to distribute narcotics.

        After discussing the use of Fahie’s “reliable” criminal associate, the CS cautioned Fahie

 not to discuss their business via the phone. Fahie responded by assuring the CS that he was very


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 careful in his business. He told the CS that when people provided him with large amounts of cash,

 and that cash came wrapped in bank wrappers, he would always remove, tear up, and discard the

 wrappers because the banks could trace the currency based on the stamps or codes on the wrappers.

 Impressed by Fahie’s criminal acumen, the CS asked, “so this is not your first rodeo right, I can

 tell . . .” Fahie responded:

            “Oh no no no, not my first rodeo at all, NOT, MY FIRST RODEO, AT ALL.”

 Fahie then laughed, and went on to describe his prior criminal activity. He told a story about

 saving a man $3 million dollars, and how that man agreed to pay Fahie $1 million dollars for

 Fahie’s efforts. However, that individual also arranged for the courier providing the $1 million to

 be robbed before the cash was provided to Fahie. Fahie further explained that, over the last 15-20

 years, he had lost out on about 7.5 million dollars he was owed where the “deal” went through (the

 drug deal), but he was stiffed and not paid by his criminal partner.

            The following day, Fahie and the CS travelled to Opa Locka airport. Upon arrival, the CS

 offered to allow Fahie to view the cash that would be flown back to the BVI on Fahie’s behalf.

 Fahie boarded the private jet and was shown the $700,000 in cash that was intended for him and

 Maynard. 2 Fahie inquired as to how the money would be hidden in a suitcase, and the CS described

 the process. Fahie then asked, so “this is the full seven?” The CS responded “yes, 700.” Fahie

 later exited the plane and was arrested. That same morning, Maynard went through a similar visit

 to the airport, and reviewed the cash in anticipation of flying it back to the BVI. She was

 subsequently arrested.




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     This cash was “sham,” or fake, currency.

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         Following their arrests, Fahie and Maynard were charged by criminal complaint with: (1)

 conspiracy to import five kilograms or more of a mixture and substance containing a detectable

 amount of cocaine, in violation of 21 U.S.C. §§ 963, 952, and 960(b)(1)(A); and (2) conspiracy to

 launder money, in violation of 18 U.S.C. §§ 1956(a)(2)(A), 1956(a)(2)(B)(i), 1956(c)(7)(A), and

 1956(c)(7)(B)(iv); all in violation of 18 U.S.C. § 1956(h). If convicted on the drug trafficking

 conspiracy, the Defendants would face a ten-year mandatory minimum sentence, and an estimated

 sentencing guidelines range of 235-293 months. If convicted on the money laundering conspiracy,

 the Defendants face an estimated guidelines range of either 292-365 months, or 360 months to life,

 depending on the applicability of certain sentencing enhancements.

 II.      Personal Characteristics 3

          a.       Defendant Andrew Fahie

         According to the Pretrial Services Report, Defendant Fahie has resided on the Island of

 Tortola for thirty one years, and is not an United States citizen. The majority of his work and

 family ties are to the BVI. He has extensive foreign travel within the last ten years, including to

 the U.S. Virgin Islands, England, Puerto Rico, Saint Maarten, St. Kitts, and Antigua. According

 to the U.S. Customs and Border Protection encounter list for Fahie, he has 396 “encounters”

 between 1992 and 2022. Those encounters generally refer to international travel by Fahie, and

 included travel by commercial aviation, cruise ship, pedestrian crossing, and pleasure boat. Fahie

 also discussed past travel to China with the CS during the course of this investigation. With regard

 to his finances, Defendant Fahie has at least seven different bank accounts, including one holding

 approximately $95,000. In addition, the Defendant owns several properties or buildings, with a




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   The Personal Characteristics section is based on information contained in the pre-trial services report, and gathered
 through the course of the investigation into the Defendants.

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 total value of approximately $2.4 million. Fahie’s limited contacts in the Southern District of

 Florida come via his daughters who have or will attend college here, and have a college apartment

 near Florida International University (“FIU”).

         b.     Defendant Oleanvine Maynard

         According to the Pre-Trial Services Report, Defendant Maynard was born on Tortola,

 BVI, and has resided in the BVI, the U.S. Virgin Islands, and the United States. She has no current

 family or contacts in the Miami area, she does not have employment in the Miami area, and she

 does not have a residence in the Miami area. The Defendant is employed in the BVI, and owns a

 company in the BVI. According to the U.S. Customs and Border Protection encounter list for

 Maynard, she has 295 “encounters” between 1998 and 2022. Those encounters generally refer to

 international travel by Maynard, and included travel by commercial aviation, cruise ship,

 pedestrian crossing, and pleasure boat. With regard to her finances, the Defendant has around

 $46,000 in various bank accounts, and owns a residence worth $1.5 million.

 III.   Legal Standard

        Under the Bail Reform Act, Title 18, United States Code, Section 3141, et seq., federal

 courts are empowered to order a defendant’s detention pending trial if the court determines that

 the defendant is either a danger to the community or a risk of flight. See 18 U.S.C. § 3142(e). In

 cases where there is probable cause to believe that the defendants committed certain offenses under

 the Controlled Substances Import and Export Act (21 U.S.C. § 951, et seq.), like the Defendants

 here, the Court is required to “presume[] that no condition or combination of conditions will

 reasonably assure the appearance of the person as required and the safety of the community.” 18

 U.S.C. § 3142(e)(3). Should the Defendants rebut that presumption, the Court is still required to

 analyze the facts presented to determine whether the Defendants are a risk of flight, or danger to


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 the community. A finding that a defendant represents a danger to the community must be

 supported by clear and convincing evidence, while a finding of risk of flight need only be

 supported by a preponderance of the evidence.         See 18 U.S.C. § 3142(f); United States v.

 Quartermaine, 913 F.2d 910, 917 (11th Cir. 1990); United States v. King, 849 F.2d 485, 489 (11th

 Cir. 1988).

         In determining whether detention pending trial is appropriate, the Court must consider the

 following factors: (1) the nature and circumstances of the offense charged, including whether the

 offense involves a controlled substance; (2) the weight of the evidence against the person; (3) the

 history and characteristics of the person; and (4) the nature and seriousness of the danger to any

 person or the community that would be posed by the person’s release. 18 U.S.C. § 3142(g).

 IV.    Both Defendants Should be Ordered Detained Pending Trial

        As an initial matter, both Defendants should be detained based on the statutory presumption

 that they post a risk of flight and a danger to the community based on the offense that they

 committed. 18 U.S.C. § 3142(e)(3). Because there is probable cause that the Defendants

 committed a violation of the Controlled Substances Import and Export Act, and that offense carries

 a maximum term of ten years or more, detention is presumed in this matter. Should the Defendants

 overcome that presumption, and they cannot, detention is still required because both Defendants

 pose a danger to the community, and a serious risk of flight.

        a.      Defendant Fahie is a Danger to the Community

        Through the course of this conspiracy, it has become clear that Fahie is engaged in

 corruption and criminal activity at the highest levels. He has accepted bribes, he has agreed to pay

 bribes, he has conspired to import thousands of kilograms of a dangerous controlled substance, he

 has admitted to working with known drug dealers in the BVI, and he has expressed a willingness


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 to inquire about the acquisition of firearms from a Senegalese contact – on behalf of the Sinaloa

 Cartel. Fahie added that his “reliable” criminal associate in the BVI was involved in moving both

 money and guns (apparently with the knowledge and acquiescence of Fahie). According to Fahie

 himself, he has been involved in this type of criminal activity for 15-20 years. His release would

 result in a danger to the community by allowing for continued drug trafficking from the BVI to

 the United States, and the ongoing protection of criminal activity provided by Fahie. Not only

 would Fahie himself serve as a danger to the community, but his freedom in society would allow

 for the unfettered criminal activity of Fahie’s associates to continue.

        b.      Defendant Fahie is a Serious Risk of Flight

        Perhaps more concerning than the danger posed by Fahie is the severe risk that he will flee

 from prosecution if released on bond. Fahie presents a particularly concerning risk of flight

 because he has a compelling reason to flee, he has a demonstrated disregard for the rule of law, he

 has the connections and ability to flee, and he has extremely limited connections to the Southern

 District of Florida. As an initial matter, Fahie is facing a very high guidelines sentence after

 conviction, along with whatever political consequences he may face. At the very low end, the

 Defendant is facing a sentence of 235 months, or approximately 20 years. His eventual sentence

 provides a clear and compelling reason to flee from prosecution if released on bond. Not only that,

 but the Defendant has repeatedly shown a complete and utter disregard for the rule of law, along

 with a willingness to obstruct justice. Instead of fulfilling his oath of office, and carrying out his

 duties as required, Fahie did the exact opposite. He accepted bribes, committed crimes, worked

 with drug dealers, and agreed to pay bribes. He was approached by a purported member of the

 Sinaloa Cartel with a lucrative criminal opportunity, and instead of turning the cartel in, he joined

 them. Through this investigation, it has become clear that Fahie is corrupt to the core. His actions


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  lead to only one conclusion: that Fahie believes he is above the law. And that’s not just in this

  case, but – according to Fahie – for the past 15-20 years. This was not his “first rodeo,” no no no,

  “NOT AT ALL.”

           In addition to the severe consequences Fahie is facing, and his total disregard for the rule

  of law, the Defendant has the connections and ability to flee in order to avoid prosecution. He has

  contacts in Senegal who did political work for him. He worked with a “reliable” BVI drug

  trafficker involved in moving cocaine and guns through the Caribbean by boat. He had a female

  “fixer” in the BVI who did a lot of “things” for him in politics that were not “above board.” He

  controlled access to the ports and airports of the BVI, and discussed travel via boats and private

  aircraft. He has an extensive history of foreign travel, very limited ties to the Southern District of

  Florida, and the funds required to finance a life on the run. His sole connection to the Southern

  District of Florida is the fact that one of his daughters will soon graduate from FIU, and another

  will soon enroll there. He is essentially relying on their college apartment to establish ties to

  Miami.

           In addition to the foregoing, the evidence against the Defendant is overwhelming. 18

  U.S.C. § 3142(g)(2). He and his co-conspirators were captured on multiple audio and/or video

  recorded meetings or calls. He repeatedly expressed his interested in pursuing this criminal

  conspiracy, despite being given multiple opportunities to withdraw. He explained that he had a

  history of criminal activity, and had done this type of thing before. The evidence of the Fahie’s

  guilt is substantial and undisputable.

           Finally, the Defendant is subject to potential immigration consequences in connection with

  the crimes he has committed. The Defendant travelled to the United States under a Visa Waiver,

  and has failed to comply with the terms of that status by committing the crimes detailed herein.


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  This potentially subjects the Defendant to removal from the United States. If removed to the BVI,

  the Defendant would be nearly unreachable by the United States due to the lengthy extradition

  process between the United States and the BVI.

         Given the sentence the Defendant is facing, his clear contempt for the rule of law, his

  criminal contacts, and his ability to travel internationally, the only possible conclusion is that he

  Defendant poses a severe risk of flight. There are no bond terms or conditions that could assure

  his appearance before this Court. If bond is granted, it is a near certainty that the Defendant will

  never again be seen in the Southern District of Florida. He should therefore be ordered detained

  pending trial.

         c.        Defendant Maynard is a Danger to the Community

         In addition to her conspiracy to import thousands of kilograms of cocaine into the United

  States with Fahie, Maynard helped her son Kadeem set up his own side deal for 60 kilograms a

  month. Kadeem explained that he had been involved in drug trafficking for a long time, and his

  mother Maynard observed and approved. She is responsible for conspiring to distribute thousands

  of kilograms of cocaine to the United States, and – through her son Kadeem – throughout the

  Caribbean. Further, she is an admitted associate of a group of criminals in the BVI who claim to

  be Hezbollah operatives involved in criminal activity on Tortola. Maynard’s planned drug

  distribution, and the violence it would inevitably create, demonstrate why Maynard is such a

  danger to the community, and should be detained on that basis.

         d.        Defendant Maynard is a Serious Risk of Flight

         Like Fahie, Maynard also poses a serious risk of flight if she is released. She faces the

  same serious consequences for her crime, both in terms of a likely sentence and political

  repercussions. Those consequences provide ample motive for Maynard to flee prosecution if


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  released on bond. Maynard has also shown a complete willingness to disregard the laws of her

  country, and of the United States. Instead of fulfilling her role as Director of Ports, and upholding

  the laws of her own country, Maynard sold out to the highest bidder. How can she be expected to

  comply with the orders of this Court when she has consistently disregarded her own legal

  responsibilities throughout the course of this investigation? Further, Maynard has the means and

  ability to successfully flee prosecution in the United States. She and her son discussed using

  charter boats to move drugs in the Caribbean, and she has no connection to the Miami area. Her

  CBP encounters also illustrate an ability and willingness to travel internationally. Like Fahie, the

  evidence against Maynard is overwhelming, including numerous recorded meetings. If released,

  the Defendant would almost certainly flee. She should be detained pending trial to prevent her

  flight.

  IV.       CONCLUSION

            For the foregoing reasons, the United States respectfully requests that the Court order that

  the Defendants be detained pending trial.


                                                  Respectfully submitted,


                                                  JUAN ANTONIO GONZALEZ
                                                  UNITED STATES ATTORNEY

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                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 4, 2022, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF.



                                     By:      /s/ Frederic C. Shadley
                                              Frederic C. Shadley
                                              Assistant United States Attorney




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